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 13                     UNITED STATES DISTRICT COURT
 14        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 15
 16 SHAWN CARTER, also known as             Case No. 2:21-cv-04848-PA-KS
    JAY-Z, an individual,
 17                                         ORDER GRANTING JOINT
                 Plaintiff,                 STIPULATION TO EXTEND
 18                                         DEADLINE FOR EXPERT
          v.                                DESIGNATIONS AND
 19                                         DISCLOSURES
    JONATHAN MANNION, an
 20 individual, and JONATHAN                The Honorable Percy Anderson
    MANNION PHOTOGRAPHY LLC, a
 21 New York limited liability company,     Trial Date:       July 22, 2022
 22             Defendants.
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                                                                     [PROPOSED] ORDER
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  1        Upon consideration of the Joint Stipulation to Extend Deadline for Expert
  2 Designations and Disclosures, and good cause appearing, IT IS HEREBY
  3 ORDERED that the deadline for designating expert witnesses and providing expert
  4 reports is extended from March 14, 2022 to March 18, 2022.
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  6 DATED: March 10, 2022
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  8                                      By
                                                         Percy Anderson
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                                                    United States District Judge
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                                                                          [PROPOSED] ORDER
